Case 1:01-cv-12257-PBS Document 6586-17 Filed 10/13/09 Page 1 of 9




                  EXHIBIT P
 Case1:01-cv-12257-PBS
Case  1:01-cv-12257-PBS Document
                        Document 3956
                                 6586-17Filed
                                           Filed 10/13/09 Page
                                               03/23/2007  Page2 1ofof9 8
 Case1:01-cv-12257-PBS
Case  1:01-cv-12257-PBS Document
                        Document 3956
                                 6586-17Filed
                                           Filed 10/13/09 Page
                                               03/23/2007  Page3 2ofof9 8
 Case1:01-cv-12257-PBS
Case  1:01-cv-12257-PBS Document
                        Document 3956
                                 6586-17Filed
                                           Filed 10/13/09 Page
                                               03/23/2007  Page4 3ofof9 8
 Case1:01-cv-12257-PBS
Case  1:01-cv-12257-PBS Document
                        Document 3956
                                 6586-17Filed
                                           Filed 10/13/09 Page
                                               03/23/2007  Page5 4ofof9 8
 Case1:01-cv-12257-PBS
Case  1:01-cv-12257-PBS Document
                        Document 3956
                                 6586-17Filed
                                           Filed 10/13/09 Page
                                               03/23/2007  Page6 5ofof9 8
 Case1:01-cv-12257-PBS
Case  1:01-cv-12257-PBS Document
                        Document 3956
                                 6586-17Filed
                                           Filed 10/13/09 Page
                                               03/23/2007  Page7 6ofof9 8
 Case1:01-cv-12257-PBS
Case  1:01-cv-12257-PBS Document
                        Document 3956
                                 6586-17Filed
                                           Filed 10/13/09 Page
                                               03/23/2007  Page8 7ofof9 8
 Case1:01-cv-12257-PBS
Case  1:01-cv-12257-PBS Document
                        Document 3956
                                 6586-17Filed
                                           Filed 10/13/09 Page
                                               03/23/2007  Page9 8ofof9 8
